Case 4:02-cr-10011-JLK Document 71 Entered on FLSD Docket 05/22/2009 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,

        Plaintiff,
                                            CASE NO. 02-10011-CR-KING
 VS.

 RODOBALDO AVILA SANCHEZ,

       Defendant.
 ______________________________/

                            DEFENDANT STATUS REPORT

        COMES NOW, the Defendant, RODOBALDO AVILA SANCHEZ, by and

 through his undersigned, and files this Status Report, in response to the Court’s Order

 Directing Parties to File a Status Report, dated May 19, 2009, (DE 69), and states:

        1.      On March 20, 2009, the Defendant surrendered to the United States Marshal

 Service, Miami, Florida. Thus, this Court’s Warrant for Arrest, dated 10/29/02, was

 executed. See Return (DE 68).

        2.      No additional action is pending before this Court and no additional action

 needs to be taken by this Court.

        3. Undersigned counsel has spoken with Sharad A. Motiani, Assistant United

 States Attorney, who agrees that no additional action needs to be taken by this Court with

 regard to the Defendant.
Case 4:02-cr-10011-JLK Document 71 Entered on FLSD Docket 05/22/2009 Page 2 of 2




                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 22, 2009, I electronically filed the foregoing

 document/pleading with the Clerk of Court using CM/ECF.

                                             Respectfully submitted,

                                             MANUEL GONZALEZ, JR., ESQ.
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                                             Suite 302
                                             Coral Gables, Florida 33134
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                                             BY: s/Manuel Gonzalez, Jr._________
                                                MANUEL GONZALEZ, JR., ESQ.
                                                 FLORIDA BAR NO. 397997




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